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IN THE uNITED sTATEs DISTRICT coUR'r m BYmQ-D-c
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RoRY ALLEN GREGORY, U*E@}D%§P’STRHTW
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Plaintiff,
vs. Nb. 04-2628 MaV

GARY AARON, et al.,

Defendant.

 

ORDER DENYING PLAINTIFF'S MOTION FOR SANCTIONS AGAINST DEFENDANT
FOR FAILURE TO MAKE DISCLOSURES OR COOPERATE IN DISCOVERY

 

Before the court is the June 30, 2005 motion of the plaintiff,
Rory Gregory, for sanctions against the defendants for failure to
make disclosures or cooperate in discovery pursuant to Federal Rule
of Civil Procedure 37. The motion has been referred to the United
States Magistrate Judge. For the following reasons, the motion_is
denied.

Gregory has moved for sanctions based on the fact that the
defendants have failed to propound answers to his discovery
requests within the time provided in the court's March 29, 2005
scheduling order. However, on June 27, 2005, this court entered a
protective order, relieving the defendants from the obligation to
respond to Gregory's discovery requests until the court has
determined whether the defendants assertion of qualified immunity

is valid. Accordingly, the present motion denied as moot.

Tl\is document entered on the dock sheet in compliance
with Ru!e 58 and/or 79(a) FRCP now

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IT IS SO ORDERED this 12th day of July, 2005.

dod m [ gofka

DIANE K. VESCOVO
U'NITED STATES MAGISTRATE JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:04-CV-02628 Was distributed by faX, mail, or direct printing on
July ]4, 2005 to the parties listed.

 

Rory Allen Gregory
FCI-l\/[El\/[PH[S
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Honorable Samuel Mays
US DISTRICT COURT

